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 4
     Attorney for Defendant
 5   CHERYLL DEL ROSARIO
 6
 7
 8                               UNITED STATES DISTRICT COURT
 9                             NORTHERN DISTRICT OF CALIFORNIA
10                                  SAN FRANCISCO DIVISION
11
                                            )
12   UNITED STATES OF AMERICA,              )                 Criminal No. CR 05-00278 PJH
                                            )
13              Plaintiff,                  )                 STIPULATION AND
                                            )                 [PROPOSED] ORDER TO
14         v.                               )                 CONTINUE NOVEMBER 2,
                                            )                 2005 SENTENCING DATE
15   CHERYLL DEL ROSARIO and,               )
     JENNIFER K. BUSTOS                     )
16                                          )
                Defendant.                  )
17   _______________________________________)
18
              IT IS HEREBY STIPULATED by and between Assistant United States Attorney,
19
     Jeffrey R. Finigan, counsel for the plaintiff United States of America, John M. Runfola,
20
     counsel for the defendant Cheryll Del Rosario, and Lorne Dubin, counsel for defendant
21
     Jennifer K. Bustos, that the sentencing hearing in this Court scheduled for November 2, 2005
22
     at 2:30 p.m., is extended until December 14, 2005 at 2:30 p.m., or as soon thereafter as is
23
     convenient for the Court.
24
              No part objects to the requested continuance.
25
              IT IS SO STIPULATED.
26
27   Dated:         10/26/05                           __________/s/_________________
                                                       JOHN M. RUNFOLA
28                                                     Counsel for Cheryll Del Rosario
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 1
 2   Dated:       10/26/05                          _________/s/__________________
                                                    LORNE DUBIN
 3                                                  Counsel for Jennifer K. Bustos
 4
 5   Dated:       10/26/05                          _________/s/___________________
                                                    JEFFREY R. FINIGAN
 6                                                  Assistant United States Attorney
 7            IT IS SO ORDERED
 8
             10/28/05
     Dated: _________________                       ______________________________
 9                                                  HON. JUDGE PHYLLIS J. HAMILTON
                                                    United States District Court Judge
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